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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 YUSEF SALAAM, RAYMOND                                       CIVIL ACTION
 SANTANA, KEVIN RICHARDSON,
 ANTRON BROWN AND KOREY WISE,
                Plaintiffs,

                 v.                                          NO. 24CV5560

 DONALD J. TRUMP,
                Defendant.


                                     SCHEDULING ORDER

       AND NOW, this 5th day of December, 2024, following a Preliminary Pretrial

Conference, IT IS HEREBY ORDERED as follows:

       1.      Defendant shall file an Answer no later than 30 days after the Court dockets an

Opinion and Order on Defendant’s forthcoming Motion to Dismiss.

       2.      All fact discovery shall be completed no later than 180 days after the Answer is

due.

       3.      Any expert reports are due no later than 30 days after fact discovery closes. If an

expert report is intended solely to contradict or rebut evidence on the same subject matter

identified by another party, counsel shall serve such report on counsel for every other party no

later than 30 days after initial expert reports are due.

       4.      Any party expecting to offer opinion testimony from lay witnesses pursuant to

Federal Rule of Evidence 701 with respect to the issues of liability and damages shall, at the time

required for submission of information and/or reports for expert witnesses, serve opposing

parties with details and/or documents covering the lay opinions of the Rule 701 witnesses.
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       5.      Any discovery depositions of expert witnesses shall be completed no later than 30

days after rebuttal expert reports are due.

       6.      Despite the protocol outlined in Section III.C.1-4 of Judge Beetlestone’s Policies

and Procedures, should a discovery dispute arise and remain following the parties’ meet-and-

confer as required by Federal Rule of Civil Procedure 37(a)(1), the party seeking to compel

discovery may file a motion to compel. The motion and any supporting memorandum, together,

shall not exceed 10 pages of double-spaced 12-point font. The responding party shall file a

response within 7 days, also limited to 10 pages of double-spaced 12-point font.

       7.      Any motions for summary judgment and/or Daubert motions shall be filed and

served no later than 30 days after the close of expert discovery. If the parties do not plan on

filing summary judgment and/or Daubert motions, they shall so report to the Court (Chambers,

Room 10614) on or before 30 days after the close of expert discovery. In all summary judgment

filings, the parties shall comply with the provisions of Judge Beetlestone’s Policies and

Procedures regarding the submission of a joint appendix and of statements of undisputed and

disputed material facts.

                 A.        When one party intends to move for summary judgment, that party
                           shall initiate a process whereby the parties shall meet, confer and
                           develop a single, joint appendix of all exhibits, including any and all
                           exhibits that may be referenced in their respective briefs.
                 B.        The joint appendix shall be filed by the movant no later than the date
                           the initial motion for summary judgment is docketed. All pages of
                           the joint appendix shall be consecutively “Bates stamped” and
                           referenced in the motions and briefs by the Bates number assigned
                           each page. The joint appendix shall include a table of contents. The
                           parties shall make every effort to include all necessary exhibits in the
                           initial joint appendix. Should it become necessary for the non-moving
                           party to submit additional exhibits, however, it may do so at the time
                           it files its opposition brief. Any addendum to the joint appendix shall
                           be consecutively Bates stamped, beginning at the page number where
                           the joint appendix left off, and shall include a table of contents. Judge
                           Beetlestone will not consider material not included in the appendix.

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                 C.      Statements of Facts
                         1.     Upon motion for summary judgment, counsel shall also
                                submit a separate Statement of Undisputed Material Facts
                                containing a numbered, paragraph-by-paragraph recitation
                                of facts with specific citations to the joint appendix in
                                support of all of those facts as to which the moving party
                                contends no genuine issue exists.
                         2.     Counsel opposing a motion for summary judgment shall
                                also submit a separate Statement of Disputed Material Facts,
                                stating in similar paragraph form whether that party accepts
                                or rejects that each fact as stated by the moving party is
                                undisputed. If a party contends that a fact is in dispute,
                                citation must be made to the joint appendix that supports the
                                party’s view that that particular fact is in dispute. The party
                                should then list its own additional disputed facts in the same
                                format with specific citations to the joint appendix.
                         3.     Counsel for the moving party shall then submit—even if not
                                filing a reply brief—a separate Reply Statement of
                                Undisputed Material Facts stating in similar paragraph form
                                whether that party accepts or rejects that each additional fact
                                as stated by the opposing party is disputed. If a party
                                contends that a fact is undisputed, citation must be made to
                                the joint appendix that supports that party’s view that the
                                particular fact is undisputed.

       8.       Any responses to motions for summary judgment and/or Daubert motions shall be

filed and served no later than 30 days after initial summary judgment and/or Daubert motions

are due.

       9.       For all filings submitted and conferences held pursuant to this Scheduling Order,

and for all pretrial and trial proceedings referred to herein, counsel shall follow Judge

Beetlestone’s Policies and Procedures, a copy of which can be found online at

www.paed.uscourts.gov.

                                                      BY THE COURT:


                                                      /s/ Wendy Beetlestone

                                                      WENDY BEETLESTONE, J.



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